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IN THE UNITED sTATEs DISTRICT CoURT ilED BY*_______ DC
FoR THE wESTERN DISTRICT oF TENNESSEE G,i. ' '
EASTERN DIVIsioN “"1“5'7 AH 9= 13

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HUBERT RAY MATTHEWS, SR.,
as Power of Attorney of Hubert Ray
Matthews, Jr., an incapacitated person,

Plaintiff,
VS. No. 05-lO9l-T-An

KINDRED HEALTHCARE, INC.,
et al.,

Defendants.

‘-_/\_/\_/\-_/\-_-/\._/\_/\_/\_/\_/\_/\_/

 

ORDER GRANTING DEFENDANTS’ MOTION TO CLARIFY

 

On June 15, 2005, the court granted the motions to stay the action.l The court stayed
the action for sixty (60) days to allow alternate dispute resolution to proceed. lf, at the end
of the sixty»day period, the matter had not been resolved, the court stated that Defendants
would be allowed fifteen (15) days in which to respond to Plaintifl"s motion to remand

Defendants have now filed a motion to clarify the order granting the motions to stay.
Defendants contend that (l) Plaintiff is unwilling to participate in alternate dispute
resolution and (2) the procedures set forth in the agreement for alternate dispute resolution

purportedly Signed by the parties cannot be implemented in the Sixty-day time period Set by

 

l Plaintiff moved the court to stay the action until the motion to remand has been decided, while
Defendants moved to stay the action pending alternate dispute resolution.

This document entered on the docket sheet in compliance

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the court.

Plaintiff has filed a response in which he objects to Defendants’ statement that he is
unwilling to participate in alternate dispute resolution. According to Plaintiff, this statement
is untrue, and he is, in fact, "ready and willing to mediate this matter." Plaintiff’ s Response
at p.Z. The court is not required to resolve this factual dispute since both parties are in

agreement that alternate dispute resolution should proceed. Because there has been a
disagreement concerning Plaintiff s willingness to proceed, the court will allow the parties
additional time. The parties will have sixty (60) days from the entry of this order in which
to mediate.

Defendants also seek clarification as to whether the procedures set forth in the ADR
agreement must be used. Plaintiff contests the validity of the ADR agreement, and the court
has not yet ruled on this issue. Consequently, the parties will not be bound by the ADR
agreement during the sixty-day mediation period.

lT IS SO ORDERED.

C»YI/a/MM

U]\WS D. TODD
Ul\WED STATES DISTRICT JUDGE

/QMM%’

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:05-CV-01091 was distributed by fax, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

